                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-2288
              Lower Tribunal Nos. 22-CF-15607 and 22-CF-15604
                     _____________________________

                           CANDICE MARIE TERZAK,

                                   Appellant,

                                       v.
                              STATE OF FLORIDA,

                                   Appellee.

                      _____________________________

                 Appeal from the Circuit Court for Lee County.
                          Nicholas Thompson, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

WHITE, MIZE and GANNAM, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Daniel Muller, Assistant Public
Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Krystle Celine Cacci, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
